Case 4:18-cv-00033-RAJ-DEM Document 183 Filed 04/21/21 Page 1 of 1 PageID# 16844
                         IN THE UNITED STATES DISTRICT COURT                                FILED
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                      NEWPORT NEWS DIVISION
                                                                                         APR ? 1 2021
  Herbert H. Mullinex, Jr., et.al.,
                                                                                   CLERK, U.S. DISTRICT COURT
                                                                                         NORFOLK, VA
                 Plaintiffs,
                                                           Civil Action No:4:18cv33


  Air &. Liquid Systems Corporation
  Successor by Merger to Buffalo Pump, Inc., et. al.

                 Defendants.

                                              ORDER


         Pursuant to General Order No. 2021-04, the suspension of all civil jury trials will expire
  on April 30,2021; therefore, this case shall be scheduled for trial. It is ORDERED that the Rule
  16(b) Scheduling Order and any related orders shall be amended to reflect the following dates as
  the deadline for the completion ofthe items listed:


         A jury trial shall commence on November 2.2021. at 10:00 a.m. at Norfolk.
         Proposed voir dire and two sets ofJury instructions(TYPED IN CAPITAL LETTERS
  AND INDEXED)shall be electronically filed and delivered to the Clerk on or before
  October 26.202L

         A final pretrial conference shall be conducted on October 22.2019. at 11:00 a.m. at the
  courthouse in Norfolk.

         A proposed final pretrial order shall be circulated on or before October 20.202L
         An attorneys' conference is scheduled in the office ofcounsel for plaintiff, on
  October 15.2021 at 2:00 p.m.

         The pretrial disclosures required by Rule 26(a)(3) shall be delivered to all counsel on or
  before October 6.2021 and filed with the Court at the final pretrial conference as part ofthe
  final pretrial order. Any objections to this disclosure shall be delivered to all counsel and
  unrepresented parties on or before October 13« 2021. and,if unresolved, will be heard at the
  final pretrial conference.


         Copies ofthis order shall be forwarded to all counsel ofrecord.
         It is so ORDERED.

                                                                  Raymond A.Jackson
        . ., 0,!                                                  United States District Judge
  Date: Apnl        .2021
